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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HARLEY-DAVIDSON MOTOR
COMPANY, INC.,                                        Case No. 24-cv-00012

               Plaintiff,                             Judge Virginia M. Kendall

v.                                                    Magistrate Judge Keri L. Holleb Hotaling

SHANDONG XINHUIZHAN TRADE CO.,
LTD,

               Defendant.


           PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S ANSWER [66]

        Plaintiff Harley-Davidson Motor Company, Inc. (“Plaintiff”) hereby moves this Honorable

Court to strike Defendant Shandong Xinhuizhan Trade Co., Ltd.’s (Def. No. 6) (“Defendant”)

Answer to the Complaint [66] (the “Answer”).

        As acknowledged by this Court [103], Defendant is a business entity. Defendant is “not

permitted to litigate in a federal court unless it is represented by a lawyer licensed to practice in

that court.” United States v. Hagerman, 545 F.3d 579, 581 (7th Cir. 2008) (citations omitted); see

also United States v. Certain Real Property, 381 F. Supp. 3d 1007, 1009 (E.D. Wisc. 2018)

(granting motion to strike claim filed by an authorized representative of a corporation because it

is not a proper pleading filed by an attorney of record for a party).

        Defendant’s previous counsel filed a Motion to Withdraw as Counsel [96] which was

granted by this Court [97]. Pursuant to this Court’s Order [103], Defendant was advised that, as a

business entity, it may not represent itself and was ordered to retain new counsel by July 5, 2024.

Defendant has not retained new counsel as of the filing of this Motion. Defendant’s Answer should

be stricken on these grounds because permitting an organized business entity to proceed as a pro
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se defendant without the assistance of counsel burdens the Court and prejudices Plaintiff. Further,

since Defendant’s counsel withdrew, Plaintiff has not received any communication from

Defendant. See [104].

       For the foregoing reasons, Plaintiff requests that this Court strike Defendant’s Answer to

the Complaint [66].

Dated this 12th day of July 2024.            Respectfully submitted,
                                             /s/ Justin R. Gaudio
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                                             Justin R. Gaudio
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                                             Counsel for Plaintiff
                                             Harley-Davidson Motor Company, Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of July 2024, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system, I will electronically publish the documents

on a website, and I will send an e-mail to Defendant’s e-mail addresses, fayli@jiezuoflag.com and

jzflag@foxmail.com, that includes a link to said website.

                                             /s/ Justin R. Gaudio
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Marcella D. Slay
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